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IN THE UNITED STATES DISTRICT COURT (| {SEP 2 1 )
FOR THE WESTERN DISTRICT OF NEW YORK \iees Loeweyaus A

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UNITED STATES OF AMERICA,
v. 20-MR- 3290
HAROLD MCDONALD,

Defendant.

 

NOTICE OF APPEAL OF MAGISTRATE JUDGE’S DECISION AND ORDER ON
RELEASE AND REQUEST FOR STAY

The United States of America by and through its attorney, James P. Kennedy, Jr.,
United States Attorney for the Western District of New York, Misha A. Coulson, Assistant
United States Attorney, pursuant to Title 18, United States Code, Section 3145(a)(1), hereby
files a Motion with the United States District Court in the Western District of New York, for
an order revoking the Order Setting Conditions of Release for the defendant, which was

conditionally ordered by United States Magistrate Judge Jeremiah J. McCarthy on September

21, 2020.

The government further moves for an Order staying said Order of the Magistrate Judge
until such time as the Court can hear and determine the government’s motion for review of

the Magistrate Judge’s determination on detention.
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DATED: Buffalo, New York, September 21, 2020.

BY:

JAMES P. KENNEDY, JR.
United States Attorney

   

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